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                                               U.S. Department of Justice

                                                          United States Attorney
                                                          Southern District of New York

                                                          The Silvio J. Mollo Building
                                                          One Saint Andrew’s Plaza
                                                          New York, New York 10007


                                                          November 10, 2020
                                                      The sentencing control date is adjourned to May 14,
BY EMAIL/ECF
                                                      2021, at 3:30 p.m.
The Honorable Edgardo Ramos                           SO ORDERED.
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square                                                                          11/10/2020
New York, New York 10007

      Re:          United States v. Konstantin Ignatov, S7 17 Cr. 630 (ER)

Dear Judge Ramos:

       A sentencing control date is presently set in the above-captioned case for November 11, 2020.
Because the defendant’s cooperation is not yet complete, the Government respectfully requests that the
sentencing control date be adjourned for approximately six months. The defense consents to this
application.


                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   Acting United States Attorney

                                             By:   /s
                                                   Christopher J. DiMase / Nicholas Folly
                                                   Assistant United States Attorneys
                                                   (212) 637-2433 / 1060


cc:         Jeffrey Lichtman, Esq. (by ECF
            Jeffrey Einhorn, Esq. (by ECF)
